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Jeremy McBride (00:00):
Who cares about him, because he's fucked them over. The guy does not deserve to be free. I don't think
he deserves all of that time in prison, if what you're saying is somewhat true and it was coached and this
thing was set up and the murder for hire shouldn't stick. I don't believe he should spend the rest of the
life. But, he does deserve time and does deserve rehabilitation. I don't think you're going to change that
guy.

Jeff Lowe (00:28):
Right, you're not.

Jeremy McBride (00:28):
But, he is a destructive human being and he deserves to be in prison. That's our position on it. Eric and I
have totally aligned on that.

Jeff Lowe (00:37):
You and Eric, but not Rebecca.

Jeremy McBride (00:39):
Yeah, because I think she sees it more on that you were alluding to, the system is fucked up. I do agree
with that. But part of what made Tiger King, Tiger King is Joe has this anti-hero DNA and people connect
with that. It happened to be at a time where there was a very contentious election and you had
Trumpism in this country. I think a lot of people connected with people like Joe. You have that. You have
those elements in it where he's likable, of course.

Jeff Lowe (01:15):
Joe's very, he's very personable. That was part of his power over Travis and Dylan and all these guys, is
he was charismatic. But, that same charisma caused him to feel immortal and above the law. It just bit
him in the ass. But, maybe the answer to this is, like you said, it's not a second season of Netflix. Maybe
it's a first season of a reality show that doesn't end until the story ends, on a weekly basis on some
network. Yeah.

Jeremy McBride (02:04):
That's what it could ultimately become, or there's a spinoff of people from Tiger King. Jess and Lauren go
to Africa and that's its own thing. I mean, that's a real possibility.

Jeff Lowe (02:16):
You know who already wants to do that is Josh Gates.

Jeremy McBride (02:21):
Oh, really?

Jeff Lowe (02:22):
Yeah and I'm thinking, "Well, we really like this show." Then the other person was Zach Bagans, because
Bagans did the ghost adventure thing at the park and now we talk every damn day. Bagans was given a


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production deal for Discovery+. He says, "I want to put you guys on the road and you go to all these
places." I think our story will continue as long as they don't trump up some shit that gets me locked up.
Come here, baby. What'd you do? I think it'd be interesting. The fact that my phone still rings off the
hook tells me that people still are interested and invested in our story.

Jeremy McBride (03:09):
Look, I think if what you're telling me happens the way it's covered, I think you will have plenty of
opportunity. Because I think it does, if you hand over this material that does take the pressure off of you
in this whole thing.

Jeff Lowe (03:22):
Right, right.

Jeremy McBride (03:24):
It does give you some redemption in a way that gives you a lot more, I think more opportunity than
maybe others may take risk on. You might have a shot. I totally believe that.

Jeff Lowe (03:35):
But, only with you guys because you know us and you know we'll show up to film. We'll do what we say
we'd do. It's hard for a network. We actually had a production deal with TLC and I'm the one that pulled
out of it, believe it or not, no matter what they tell you, because they didn't want it to be about animals.
They wanted it to be about me and Lauren and our sex life. I said, "You know what? That's not who we
are. That's just one of the,"-

Speaker 3 (04:02):
No.

Jeff Lowe (04:03):
What? That's just one of the-

Speaker 3 (04:05):
No.

Jeff Lowe (04:06):
... things we do with our lives. Stop, stop, stop. I just didn't want to go in that direction. I'll send you the
[inaudible 00:04:16]. It was completely stupid and bullshit and they didn't want it to be animal related
because they didn't want to have to deal with PETA on a paid, what do they call it? On a-

Jeremy McBride (04:37):
What do you-

Jeff Lowe (04:38):
No on a-



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Jeremy McBride (04:38):
They didn't want to deal with PETA, because PETA doesn't want any of this stuff, the content.

Jeff Lowe (04:39):
Right, fucking with that. They didn't want PETA fucking with advertising. It had to be something like a
Hulu or a Netflix, or a subscription televised. They said, "Here's our vision." I said, "Here's my vision,"
and our visions weren't aligned. I just said, "I'm not interested. You couldn't pay me enough to do a
Kardashian version of my life because that's not interesting."

Jeremy McBride (05:05):
Yeah, it's also just intrusive and just so-

Jeff Lowe (05:09):
Manipulated.

Jeremy McBride (05:12):
That's the problem with reality television is things are set up. These moments are set up in a way that's
not authentic and you're not an actor.

Jeff Lowe (05:21):
And boring, and it bores the shit out of you because it's embarrassing. That's why I said no. There's not
enough money. I don't want my family to be embarrassed by me anymore than they already are.

Jeremy McBride (05:36):
Well, I mean, listen, you've made it this far. I mean, I'm totally impressed by everything you've been able
to put together in the media and just creating brand. It's been pretty remarkable Jeff, what you and
Lauren have done.

Jeff Lowe (05:52):
Yeah, thank you.

Jeremy McBride (05:53):
But I think, let's see where this chapter ends, but we should continue conversation. I think you have
potential of doing more than just this and I would be patient, that's my only advice. Wait for the right
one to come. But, if you guys do decide to go far, that would be ... I'm sure there's a lot of different
opportunities and channels to find a place for it, because that possibility seems interesting to someone.
Especially if this goes the way you think it's going to go with John, you have a lot more opportunity set
than you do now.

Jeff Lowe (06:28):
Can you imagine? Can you imagine?

Jeremy McBride (06:30):
I do see a lot of people being tuned to that.

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Jeff Lowe (06:32):
Can you imagine the media behind the announcement and can you imagine how many pairs of
underwear Carole Baskin will shit through when she finds out that she's being named in a RICO lawsuit?

Jeremy McBride (06:50):
Yeah, I can't imagine. I really can't. What they're trying, like if they can have space on a show, Jeff, which
is crazy. Them, or even the stuff that you've seen that's been produced so far, you guys can totally have
your own space. It's amazing. But also, a lot of people don't watch these things and that's the reality of
it. A lot of people don't watch the other things that we saw. Doc Antle's little thing, that was ridiculous.

Jeff Lowe (07:18):
Why did you guys even, not to question you because look at the success and Emmy nominations and all
that other shit. But, what was the Doc Antle angle, because he really wasn't involved in Joe's story. Was
it just because he was so eccentric that you wanted to show what insane people who own big cats? Is
that the-

Jeremy McBride (07:43):
Well Doc, like Mario and some others, they were just, the original show's intent was, if Eric mentioned
to you, wasn't necessarily about Joe and Carole. It was more about-

Jeff Lowe (07:56):
Big cats.

Jeremy McBride (07:57):
... eccentric people who keep exotic animals. These are all the people and just interesting, interesting
people, interesting characters that obviously were counterculture. Doc is very much that, and lives in his
own universe. Now, you have him, plus the Yogaville stuff and just his personality is very watchable.
Doc, just he became that, more than anything. Obviously, he's a performer and he has a lot of shit that
no one else sees and you see some of that. But, he's an interesting guy, that's for sure. It was really the
intention of doing these exposes on people originally, about these eccentric big cat owners in America.
Then it evolved into the Joe and Carole story. Then you just had this whole mashup of these different
departures into different worlds.

Jeremy McBride (08:55):
It all worked, but it was definitely like, that was the first attempt. Then it evolved to Joe and then you
found Joe and the Carole thing, as you know, and all that led the drive of it. But, we had to find space for
all these other voices. Mario, by the way, he was in it for three minutes. He was the smartest I think of
anyone, because he held out. There was enough of a preview of him that people were interested and he
just held out to the very end and did a really good deal for himself, it sounds like. He's got real people
behind him producing a scripted series of his life, which he has a crazy, amazing life story.

Jeff Lowe (09:36):
Well, when you rat on Pablo Escobar the way he did, I think he's opening himself up to ... the cartel
doesn't forget. Guess who we hang out with on a regular basis in Dallas? Lauren and I are best, no, not
best friends, but I mean, we're really good friends with Pablo's grandson.

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Jeremy McBride (10:06):
Oh, really?

Jeff Lowe (10:07):
He lives in Dallas and he knows very well some of the events that led up to Pablo's capture and murder,
or whatever they call it. I don't know somebody who's smart as Mario is doing himself any favors by
sticking, because he was sentenced to something like 177 years in federal prison.

Jeremy McBride (10:39):
Yeah, it's two consecutive life sentences.

Jeff Lowe (10:40):
How did he get out after seven or 11? He ratted on the biggest drug dealer in history. I think I'd want to
stay ... Mario's cool. I like Mario, I talked to him.

Jeremy McBride (10:55):
As do I. I mean he's actually, he also has morals, which is actually amazing. He's actually a really great
guy. I like him a lot.

Jeff Lowe (11:03):
He murdered an FBI agent and you're still likable. He told me when we were talking about Carole, that
Carole would never be convicted without the body. He goes, "That's not true, my friend." He says, "They
convicted me on murder." Him and his father on murder of an FBI agent. And he says, "And I promise
you, they didn't find his body." That's like, "Okay, well, if that's not an admission of guilt." But, I like
Mario. I hope nothing bad ever happens to him. But, he's one that Carole just doesn't fuck with very
often and that's got to be worth something. I think she knows. She started, she backed off Black Jaguar
too.

Jeremy McBride (11:52):
Yeah. Listen, rightfully so. It's a territory she doesn't need to get involved in and there's definitely
consequences to it. It's not worth it.

Jeff Lowe (11:59):
Yeah, you start fucking with the cartel-

Jeremy McBride (12:01):
He's got PETA fighting those battles and PETA doesn't care.

Jeff Lowe (12:06):
Well, PETA's safe because it's a big building full of big assholes. Carole Baskin's got one little house that's
got two big assholes in it, so they're easy targets.

Jeremy McBride (12:19):
Yeah. Well-

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Jeff Lowe (12:21):
[ Crosstalk 00:12:23]

Jeremy McBride (12:25):
The PETA thing I don't understand.

Jeff Lowe (12:29):
Anyway, these guys-

Jeremy McBride (12:33):
You guys are meeting up now for dinner, right?

Jeff Lowe (12:35):
We're meeting up for dinner and then John ... That's what happens when a cat walks on your phone.
John was receptive to doing more shooting, if you guys want more footage, if you want the departure. If
I end up taking John to the prison tomorrow, I suppose we could have a tag along in the car. It's all up to
you guys. I'll do whatever.

Jeremy McBride (13:08):
Yeah, I think while we're there, I mean, so are you guys meeting at your place, or are you guys going to a
restaurant?

Jeff Lowe (13:12):
Well, I think initially, I'm not cooking Spaghettios for him, so I got to take him to a restaurant. But, I
could try to pick a restaurant that would allow us to film.

Jeremy McBride (13:26):
It's just normally noisy and stuff. Could we help with getting maybe food there?

Jeff Lowe (13:31):
I mean, we probably could.

Jeremy McBride (13:35):
Yeah. If you want to text me a place that you know we can just get, and then just send me what you
guys want. We can maybe do that, because it's going to be hard. Otherwise, it's hard to film in a
restaurant. We're not going to get the [inaudible 00:13:47] and get any of the conversation. It's hard.
Even the stuff we shot yesterday was unusable. But yeah, that'd be my only recommendation, if you
wanted to do something tonight.

Jeff Lowe (14:00):
The stuff from Toby Keith's was not-

Jeremy McBride (14:03):



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It's hard, yeah. I mean, we got some of it. But, there's a lot of background noise, because we didn't have
a sound technician with us to help balance the atmosphere. But, we got some of it. It's not completely
lost, but it's still just tenne and noisy. The restaurant stuff's really hard. I think we'd have to, ideally in a
quiet place would be ideal. If you guys can do it, we can maybe get some take out or something to help
with.

Jeff Lowe (14:36):
What about a room in Winstar, and we just order food up there? Would that be-

Jeremy McBride (14:43):
That would be okay. That's a good idea. He's not staying there, is he?

Jeff Lowe (14:49):
He couldn't get in and it was sold out last night, but I think they'd have a room tonight.

Jeremy McBride (14:55):
Yeah, let me check into that and text you back. That's a good idea.

Jeff Lowe (14:57):
Okay.

Jeremy McBride (14:58):
That's a good idea.

Jeff Lowe (14:59):
We can just sneak the cameras in. It's not like you guys are going in. When we went into the Zaza down
in Dallas, they had 12 carts.

Jeremy McBride (15:07):
I heard, yeah. I heard it was a disaster.

Speaker 4 (15:10):
Yeah, I don't know how we-

Jeff Lowe (15:10):
Yeah, that was crazy.

Jeremy McBride (15:12):
It's a cool room though.

Jeff Lowe (15:13):
It was very cool. It was very cool.



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Jeremy McBride (15:17):
Well let me figure out. I'll check the Winstar option. What time would it be?

Jeff Lowe (15:22):
I don't care. It doesn't matter.

Jeremy McBride (15:25):
Let me check up with these guys. Probably sooner, the better. I know they've been there a long time.

Jeff Lowe (15:29):
5:30 something here, so whenever. 5:30, 6;00.

Jeremy McBride (15:32):
Okay, like within the next hour?

Jeff Lowe (15:34):
Yeah, hour or two.

Jeremy McBride (15:36):
Okay, cool. Let me work on that and get back to you, okay?

Jeff Lowe (15:39):
Yeah buddy. All right.

Jeremy McBride (15:39):
Should I call this number?

Jeff Lowe (15:41):
Yeah, call this number because it rings much louder.

Jeremy McBride (15:44):
Okay, Jeff, thanks so much.

Jeff Lowe (15:45):
All right. All right, bye.

Jeremy McBride (15:45):
Bye.

Speaker 5 (15:50):
How's your audio? I mean, probably we heard yours yesterday and it's pretty clean.

Jeremy McBride (15:56):

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Yeah.

Speaker 5 (15:56):
I mean there's...




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